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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
________________________________________

TINA CABISCA
                               Plaintiff
       v                                                      PLAINTIFF’S 12-19-16
                                                              REPLY TO DEFENDANTS
                                                              4-4-15 RESPONSES TO
                                                              PLAINTIFF’S 3-3-15
                                                              INTERROGATORIES


                                                              14-cv-6485-EAW-JWF
CITY OF ROCHESTER, NEW YORK,
DARYL HOGG, JASON PRINZI, NOLAN WENGERT
CARRIE BERKSTRESSER and K TURNER

                               Defendants


______________________________________________


Set forth below are the Plaintiff’s 3-3-15 Interrogatories in regular 12 point font, followed
by the defendant’s 4-14-15 response to the accompanying Interrogatories written in
italics, followed by plaintiff’s arguments/ objections to the responses, which are
underlined:




1. As to City of Rochester employees Daryl Hogg, Jason Prinzi, Nolan Wengert,
Carrie Berkstresser and K. Turner their full names, dates and places of birth, and
height and weight.

Answer: “Defendants object to this interrogatory as same relates to matters
contained in Defendant’s personnel files which are protected by NYS Public
Officer’s Law Section 87 (2) New York State Civil Rights Law Section 50-A.”


Arguments/Objections: POL 87 (2) is not applicable, as it is part of a chapter of
the Public Officers Law that applies to FOIL requests. This is a lawsuit and
therefore the FOIL law is not applicable under the circumstances herein.
Furthermore CRL section 50-a protects only those “personnel records used to
evaluate performance toward continued employment or promotion”. The

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requested information does not comply with that definition of information and
therefore plaintiff demands that it be produced within two weeks of the date of
this document.


2. As to City of Rochester employees Daryl Hogg, Jason Prinzi, Nolan Wengert,
Carrie Berkstresser and K. Turner describe their education – their high schools,
dates of graduation, all post high school education, naming each school, the
dates attended, the degrees obtained, the majors (or courses of study taken), all
classes in police science and police theory, and police procedure, and grades
obtained in each such course.

Answer: “Defendants object to this interrogatory as same relates to matters
contained in Defendant’s personnel files which are protected by NYS Public
Officer’s Law Section 87 (2) New York State Civil Rights Law Section 50-A.”

Arguments/Objections: POL 87 (2) is not applicable, as it is part of a chapter of
the Public Officers Law that applies to FOIL requests. This is a lawsuit and
therefore the FOIL law is not applicable under the circumstances herein.
Furthermore CRL section 50-a, protects only those “personnel records used to
evaluate performance toward continued employment or promotion”. While some
of the requested information may comply with that definition Plaintiff is providing
herewith a Confidentiality Agreement signed by plaintiff’s counsel, that provides
the protection defendants demand. Plaintiff demands that the documentation be
produced within thirty day of the date of this document.




3. As to City of Rochester employees Daryl Hogg, Jason Prinzi, Nolan Wengert,
Carrie Berkstresser and K. Turner provide the names and addresses of each
employer for whom each has worked, the dates of said employments, the names
of each job title at each employer, and a statement of any and all disciplinary
charges filed against each at each job.

Answer: “Defendants object to this interrogatory as same relates to matters
contained in Defendant’s personnel files which are protected by NYS Public
Officer’s Law Section 87 (2) New York State Civil Rights Law Section 50-A.”


Arguments/Objections: POL 87 (2) is not applicable, as it is part of a chapter of
the Public Officers Law that applies to FOIL requests. This is a lawsuit and
therefore the FOIL law is not applicable under the circumstances herein.
Furthermore CRL section 50-a, protects only those “personnel records used to
evaluate performance toward continued employment or promotion”. While some
of the requested information may comply with that definition Plaintiff is providing

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herewith a Confidentiality Agreement signed by plaintiff’s counsel, that provides
the protection defendants demand. Plaintiff demands that the documentation be
produced within thirty day of the date of this document.




4. With respect to all employees of the City of Rochester who appeared at 207
Kingsboro Road, Rochester, NY 14619 on 9-7-13, describe all the actions of
each, including, but not limited to, a listing of each officer who had any physical
contact with Tina Cabisca, either directly or indirectly in any manner, the words
spoken by each officer of the City of Rochester Police to the plaintiff, the name of
the person who shot plaintiff’s dog and his reasons for doing so.

Answer, “All actions by responding officers are contained in the Police Reports
included in Defendants’ Responses to Plaintiff’s Rule 34 Demands”


       Argument/Objection: The police reports included in Defendants’
Responses to Plaintiff’s Rule 34 Demands consists of 12 pages - more
specifically an incident Report by Darryl Hogg (2 pages), one by Jon Rivers (4
pages), a repeat of the (2) page Hogg report, a (3) page document entitled 2013-
1142 showing Hogg as primary officer and signed by Sgt. Rivers on 11-3-2013,
and a (1) page prisoner data report addressing the plaintiff’s arrest.
       Plaintiff’s request that defendants be precluded from producing any
reports, information etc. not included in the 12 pages attached to Defendant’s 4-
14-15 response at trial or otherwise. Please note that defendants’ response is
dated 4-14-15, more than a year and a half ago, and certainly defendants have
had an extremely excessive amount of time since 4-14-15 to have provided any
other response to this Demand.



5.Provide all records of any type –handwritten, typed, electronically recorded etc,
of any and all statements made by Tina Cabisca relating to events taking place at
207 Kingsboro Road, Rochester, New York on 9-7-13, and any and all
statements, or other utterances, made by any employees of the City of Rochester
to, or in the presence of Tina Cabisca.

Answer: “All relevant and discoverable records are contained in the Police
Reports included in Defendants’ Responses to Plaintiff’s Rule 34 Demands.”

       Argument – Plaintiff’s request that defendants be precluded from
producing any statements, information etc. referred to in Demand 5 above not
included in the 12 pages attached to Defendant’s 4-14-15 response at trial or

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otherwise. Please note that defendants’ response is dated 4-14-15, more than a
year and a half ago, and certainly defendants have had an extremely excessive
amount of time since 4-14-15 to have provided any other response to this
Demand.




6. Provide each and every reason why each and every police officer, including,
but not limited to: Daryl Hogg, Jason Prinzi, Nolan Wengert, Carrie Berkstresser
and K. Turner, went to 207 Kingsboro Road on 9-7-13.


Answer: “The nature of causes of Defendants’ actions are contained in the
above-referenced reports.”

       Argument – Plaintiff’s request that defendants be precluded from
producing any reasons why each and every police officer, including, but not
limited to: Daryl Hogg, Jason Prinzi, Nolan Wengert, Carrie Berkstresser and K.
Turner, went to 207 Kingsboro Road on 9-7-13 not included in the 12 pages
attached to Defendant’s 4-14-15 response at trial or otherwise. Please note that
defendants’ response is dated 4-14-15, more than a year and a half ago, and
certainly defendants have had an extremely excessive amount of time since 4-
14-15 to have provided any other response to this Demand.




Dated: December 19, 2016
                                        E. Robert Fussell Esq.


                                        S/
                                        ____________________________
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